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 1   Name           ______________________
                    Ryan Shannon

 2   Bar #          ______________________
                    D.D.C. Bar No. OR0007
     Firm           ______________________
                    Center for Biological Diversity
 3   Address        ______________________
                    P.O. Box 11374
 4                  Portland,OR97211
                    ______________________
 5                  ______________________
     Telephone      (971) 717-6407
                    ______________________
 6
 7                            IN THE UNITED STATES DISTRICT COURT

 8                               FOR THE DISTRICT OF ARIZONA

 9
     Center for Biological Diversity
10
                                                      )   Case No. 4:25-at-99906
11               Plaintiff,                           )
                                                      )   Corporate    Disclosure Statement
12              vs.                                   )
     United States Environmental                      )
13   Protection Agency                                )
                                                      )
14               Defendant.                           )
                                                      )
15
         This Corporate  Disclosure Statement is filed on behalf of ______________________
                                                                    the Center for Biological
16   ___________________________
     Diversity                   in compliance with the provisions of (check one):
17
     ✔    Rule 7.1(a)(1), Federal Rules of Civil Procedure, a nongovernmental corporate party or
18        a nongovernmental corporation that seeks to intervene in an action in a district
19        court must file a statement that identifies any parent corporation and any publicly
          held corporation that owns 10% or more of its stock or states that there is
20
          no such corporation.
21        Rule 7.1(a)(2), Federal Rules of Civil Procedure, in an action in which jurisdiction
22        is based on diversity under 28 U.S.C. § 1332(a), a party or intervenor must,
          unless the court orders otherwise, file a disclosure statement. The statement
23
          must name and identify the citizenship of every individual or entity whose
24        citizenship is attributed to that party or intervenor when the action is filed in or
25        removed to federal court, and when any later event occurs that could affect the
          court’s jurisdiction under § 1332(a).
26
          Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
27        corporate party to a proceeding in a district court must file a statement that
28        identifies any parent corporation and any publicly held corporation that owns
          10% or more of its stock or states that there is no such corporation.
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 1        Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational victim of alleged
          criminal activity is a corporation the government must file a statement identifying the
 2        victim and the statement must also disclose the information required by Rule 12.4(a)(1).
 3
          The filing party hereby declares as follows:
 4
      ✔   No such corporation.
 5
 6        Party is a parent, subsidiary or other affiliate of a publicly owned corporation as listed
          below. (Attach additional pages if needed.)
 7         ___________________________________ Relationship__________________________
 8
          Publicly held corporation, not a party to the case, with a financial interest in the outcome.
 9        List identity of corporation and the nature of financial interest. (Attach additional pages if
          needed.)
10
11        ____________________________________ Relationship__________________________

12        Other(please explain):
          ________________________________________________________________________
13
          ___________________________________________________________________________
14
15        Diversity case. (Attach additional pages if needed.)
          Party name and Party Role:                      State:
16        __________________________________              __________________________________
17        __________________________________              __________________________________
          __________________________________              __________________________________
18
          __________________________________              __________________________________
19        __________________________________              __________________________________
          __________________________________              __________________________________
20
          __________________________________              __________________________________
21        __________________________________              __________________________________
22        __________________________________              __________________________________

23
           A supplemental disclosure statement will be filed upon any change in the
24
     information provided herein.
25
                           Dated this _________
                                      25        day of __________________,
                                                       June                ________.
                                                                           2025
26
27
                                                   _______________________________
                                                   Ryan Shannon
28
                                                   Counsel of Record

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 1   Certificate of Service:
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